The court incorporates by reference in this paragraph and adopts as the findings and orders of this court
the document set forth below. This document was signed electronically on January 12, 2022, which may be
different from its entry on the record.




IT IS SO ORDERED.

Dated: January 12, 2022




                              UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF OHIO
                                     CLEVELAND DIVISION

                                                        )
 In re:                                                 )
                                                        )
 BRIAN MALION                                           )        Case No.        21-13351-AIH
                                                        )
                            Debtor(s)                   )        Chapter     7
                                                        )
                                                        )        Judge:     ARTHUR I. HARRIS
                                                        )
                                                        )        ORDER GRANTING MOTION OF
                                                        )        TOWNE MORTGAGE COMPANY FOR
                                                        )        RELIEF FROM STAY AND
                                                        )        ABANDONMENT
                                                        )        17408 Woodbury Ave, Cleveland, OH
                                                        )        44135
                                                        )
                                                        )



          This matter came before the Court on the Motion for Relief from Stay and Abandonment

(the “Motion”) filed by Towne Mortgage Company (“Movant”), (Docket 11).                                Movant has

alleged that good cause for granting the Motion exists, and that Debtor(s), counsel for the



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Debtor(s), the Chapter 7 Trustee, and all other necessary parties were served with the Motion,

and with notice of the hearing date on the Motion.       No party filed a response or otherwise

appeared in opposition to the Motion, or all responses have been withdrawn.    For these reasons,

it is appropriate to grant the relief requested.

        IT IS, THEREFORE, ORDERED that the Motion is granted.                 The automatic stay

imposed by § 362 of the Bankruptcy Code is terminated with respect to the Movant, its

successors, and assigns.

        IT IS FURTHER ORDERED that the Chapter 7 Trustee is authorized and directed to

abandon the property 17408 Woodbury Ave, Cleveland, OH 44135.



SUBMITTED BY:


/s/ Patrick Hruby
Patrick Hruby
Bar No. 0085107)
Attorney for Creditor
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                                CERTIFICATE OF SERVICE

       I certify that on January 4, 2022, a true and correct copy of the Order Granting Motion

for Relief from Automatic Stay was served: Via the Court’s Electronic Case Filing System on

these entities and individuals who are listed on the Court’s Electronic Mail Notice List:

       William C Behrens, Esq., Attorney for the Debtor, at 9512 Catalpa Cir, Mentor, OH
       44060, at billbehrens@prodigy.net


       Sheldon Stein, Chapter 7 Trustee, S. Stein Company LLC, 50 Public Square, Suite 2200,
       POB 5606, Cleveland, OH 44101 at ssteindocs@gmail.com

And by regular U.S. Mail, postage prepaid, to:

       BRIAN MALION
       17408 WOODBURY AVE
       CLEVELAND, OH 44135-4360



                                             /s/ Patrick Hruby
                                             Patrick Hruby
                                             (Bar No. 0085107)
                                             Attorney for Creditor
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